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 1
                                     UNITED STATES DISTRICT COURT
 2                                 NORTHERN DISTRICT OF CALIFORNIA

 3    East Bay Sanctuary Covenant, et al.,
                                                                Case No.: 18-cv-06810-JST
 4                   Plaintiffs,

 5                   v.

 6    Joseph R. Biden, President of the United States, et
      al.,
 7
                     Defendants.
 8

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                          JOINT STIPULATION AND PROPOSED SCHEDULE
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            Following the case management conference on May 16, 2023, the parties met and conferred
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     regarding a briefing schedule on Plaintiffs’ pending and forthcoming motions. The parties hereby
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     jointly stipulate and agree as follows:
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            1. On May 11, 2023, Plaintiffs filed a Motion for Leave to File Amended and Supplemental
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                Complaint and to Lift Stay of Proceedings (ECF No. 147).
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            2. Defendants hereby consent to Plaintiffs’ request to lift the stay of proceedings and to the
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                filing of Plaintiffs’ proposed Amended and Supplemental Complaint (ECF No. 147-2).
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            3. The parties have also met and conferred regarding a briefing schedule on Plaintiffs’
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                forthcoming motion for preliminary relief and have agreed to proceed directly to
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                summary judgment and forgo any jurisdictional discovery. The parties propose the
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                following expedited briefing schedule:
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                •   Defendants shall produce the administrative record by May 26, 2023;
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                •   Plaintiffs shall file their motion for summary judgment by June 5, 2023;
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                •   Defendants shall file any cross-motion and opposition by June 16, 2023;
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                •   Plaintiffs shall file their opposition and reply by June 23, 2023; and
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                •   Defendants shall file their reply by June 30, 2023.
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            4. The parties have also met and conferred on a schedule for resolving any disputes related
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                to the administrative record, including the completeness of the record and any request by
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                          JOINT STIPULATION AND PROPOSED SCHEDULE
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               Plaintiffs to supplement the record or rely on extra-record evidence. The parties propose
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               the following schedule:
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               •   Plaintiffs shall confer with Defendants prior to filing any motion related to the
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                   administrative record and shall file any motion no later than June 5, 2023;
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               •   Defendants shall file any oppostition no later than June 16, 2023; and
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               •   Plaintiffs shall file a reply no later than June 23, 2023.
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           5. The parties also propose the following increases in page limits for the summary judgment
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               briefing given the complexity of the issues:
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               •   35 pages for the parties’ opening briefs;
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               •   30 pages for Plaintiffs’ opposition and reply; and
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               •   25 pages for Defendants’ reply.
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           6. The parties jointly request oral argument on these motions. The parties will meet and
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               confer and submit a proposal regarding preferred hearing dates, but will be available at
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               the Court’s convenience.
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     Dated: May 17, 2023                                  Respectfully submitted,
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     /s/ Katrina Eiland                                   /s/ Erez Reuveni
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     Katrina Eiland (SBN 275701)                          Erez Reuveni
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     FOUNDATION                                           Office of Immigration Litigation
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23   Attorney for Plaintiffs

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                   JOINT STIPULATION AND PROPOSED SCHEDULE
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